EXHIBIT #8
3/31/22, 10:56 AM                                     (4) 𝐁𝐫𝐢𝐬𝐜𝐨𝐞 𝐂𝐚𝐢𝐧 on Twitter: "#ProsecuteTexasAbortionFunds" / Twitter


                                            Tweet                                                                                     Search Twitter


                                            𝐁𝐫𝐢𝐬𝐜𝐨𝐞 𝐂𝐚𝐢𝐧
          Home                              @BriscoeCain


          Explore                   #ProsecuteTexasAbortionFunds
                                    5:56 PM · Mar 30, 2022 from Texas, USA · Twitter for iPhone
      3
          Notifications
                                    4 Retweets       16 Quote Tweets       24 Likes
      1
          Messages

          Bookmarks
                                            Tweet your reply                                                   Reply
          Lists
                                            puddin n tain @Goodtrouble79 · 12h
          Profile                           Replying to @BriscoeCain
                                            See you soon

          More                                   1                                         1


                                            Ponygirl923 @ponygirl923 · 14h
                                            Replying to @BriscoeCain
             Tweet
                                            Texas woman here. Telling you...

                                                                                                                              Relevant people

                                                                                                                                         𝐁𝐫𝐢𝐬𝐜𝐨𝐞 𝐂𝐚𝐢𝐧
                                                                                                                                         @BriscoeCain
                                                                                                                                         TX State Represent
                                                                                                                                         #txlege • Father of
                                                                                                                                         • Christ follower • F
                                                                                                                                         Liberty lover • camp
                                                                                                                                         FIRST •



                                               GIF ALT                                                                        What’s happening

                                                                                                                              War in Ukraine · LIVE
                                                 1                                         9
                                                                                                                              Ukrainian government send
                                                                                                                              buses to evacuate civilians
                                            mel (she/her) @melissa__w · 15h
                                                                                                                              Mariupol after Russia agree
                                            Replying to @BriscoeCain                                                          open a humanitarian corrid
                                            You mean #ProtectTexasAbortionFunds bc if so then yasss
                                            #ProtectALLAbortionFunds
                                                                                                                              #GirlFromPlainville
                                                 1                     1                   14                                 Now Streaming on Hulu
                                                                                                                                 Promoted by The Girl From Pla
                                                                       Show more replies
                                                                                                                                  RSVP Magaz…    · March 3
                                    More Tweets                                                                               Jada Pinkett Smith breaks
                                                                                                                              silence after husband Will
                                                                                                                              slapped Chris Rock followin
                                            Greg Abbott       @GregAbbott_TX · 22h
                                                                                                                              alopecia joke
                                               Governor candidate, TX
                                            Great progress is being made building the Texas border wall.                      Sports · Trending
                                                                                                                              Floyd
                                            We continue getting easements on land along the border where more wall            18.5K Tweets
                                            will be added.
                                                                                                                              Politics · Trending
                                            This is in addition to the 10,000 National Guard + the Texas Dept. of Public
                                                                                                                              #TrumpCoverUp
                                            Safety making arrests and laying down razor wire.
                                                                                                                              60.9K Tweets


          JoyceW                                                                                                              Show more
          @joyce_GMH
                                                                                                  Messages
                                                                                                                              Terms of Service Privacy Policy
https://twitter.com/BriscoeCain/status/1509288580681814022?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5Etweet                                          1/7
